                    Case 1:19-cv-00877-RP Document 111-6 Filed 09/13/22 Page 1 of 73


Category               Date         RWS          RSN         Category Total   Description

Filing Fees
                       9/9/2019     $400.00                                   Filing fee
                                                             $400.00

Process Service
                       1/0/1900     $0.00        $0.00
                                                             $0.00

Court Transcripts
                       4/20/2022    $114.00                                   Proceeding of 3/10/22
                       5/20/2022    $697.60                                   Proceeding of 3/10/22
                                                             $811.60


Deposition
Transcripts & Videos
                       4/22/2021                 $1,405.75                    Christine Julien
                       4/22/2021                 $2,652.50                    Sharon Wood
                       5/3/2021                  $2,952.00                    Ahmed Tewfik
                       6/21/2022                 $2,082.25                    Gregory Fenves
                       6/23/2021                 $1,944.05                    Carmen Shockley, Jerry Speitel
                       6/23/2021                 $1,371.05                    John Dalton
                       7/9/2021                  $292.00                      Shane Thompson
                       7/9/2021                  $382.00                      Tom Glass
                       10/5/2021                 $1,022.80                    Evdokia Nikolova
                       11/11/2021                $1,004.05                    Peter Glick
                                                             $15,108.45

Copies
                       10/7/2019    $3.20                                     PACER
                       10/13/2020   $25.70                                    PACER
                       1/18/2022    $36.00                                    PACER
                       4/12/2022    $1,675.33                                 Rainmaker Document Technologies: trial
                                                                              exhibits
                                                             $1,740.23

Experts
(1) T. Glass           6/1/2021     $3,525.00                                 Invoice No. 108420
                       1/3/2022     $2,250.00                                 Invoice No. 126365
                       4/21/2022    $2,250.00                                 Invoice unnumbered; services rendered
                                                                              3/7-10/22
                       1/21/2022    -$975.00                                  Reimbursement by UT Austin
                       9/17/2020    $7,500.00                                 Letter of 9/9/20: payment for first 18.75
(2) P. Glick                                                                  hours
                       3/12/2021    $3,200.00                                 Invoice No. 3_12_2021-1
                       10/16/2021   $5,000.00                                 Invoice No. 12-2-2021-1
                       4/12/2022    $9,800.00                                 Invoice No. 3-11-2022-1
                       4/12/2022    $2,334.21                                 Invoice No. 3-11-2022-2 (trial travel
                                                                              expenses)
                       1/21/2022    -$5,000.00                                Reimbursement by UT Austin
(3) S. Thompson        5/20/2021                 $7,851.73                    Invoice No. 0000109
                       7/31/2021                 $1,073.35                    Invoice No. 0000134



                         Exhibit 4, Tabulation of Costs, AO 133, and Documentation, Page 1 of 73
                  Case 1:19-cv-00877-RP Document 111-6 Filed 09/13/22 Page 2 of 73


                       5/4/2022                  $6,208.81                 Invoice No. 0000224
                       1/21/2022    -$1,073.35                             Reimbursement by UT Austin
(4) Expert Institute   9/8/2020     $1,500.00                              Receipt ID O-098756-1
                                                              $45,444.75

Electronic Research
                                    $0.00        $0.00
                                                              $0.00

Travel & Meals
                       10/21/2021   $0.50                                  Parking
                       4/12/2022    $605.21                                Airfare for witness Grace Zhuang
                                                              $605.71

Miscellaneous
                       5/10/2019    $20.87                                 FedEx: Delivery to EEOC
                       2/22/2022    $467.00                                Focus Group Research, LLC
                                                              $487.87


Totals                              $34,356.27   $30,242.34   $64,598.61




                         Exhibit 4, Tabulation of Costs, AO 133, and Documentation, Page 2 of 73
                          Case 1:19-cv-00877-RP Document 111-6 Filed 09/13/22 Page 3 of 73
AO 133       (Rev. 12/09) Bill of Costs


                                                 UNITED STATES DISTRICT COURT
                                                                                             for the
                                                                        Western District
                                                                    __________  District of __________
                                                                                            Texas

                             Evdokia Nikolova                                                    )
                                                                                                 )
                                          v.                                                     )         Case No.: 1:19-cv-00877-RP
                    University of Texas at Austin                                                )
                                                                                                 )

                                                                                 BILL OF COSTS
Judgment having been entered in the above entitled action on                                         08/22/2022                  against          Defendant                              ,
                                                                                                            Date
the Clerk is requested to tax the following as costs:

Fees of the Clerk . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .           $               400.00

Fees for service of summons and subpoena . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
Fees for printed or electronically recorded transcripts necessarily obtained for use in the case . . . . . .                                                               15,920.50

Fees and disbursements for printing . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
Fees for witnesses (itemize on page two) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                    0.00

Fees for exemplification and the costs of making copies of any materials where the copies are
necessarily obtained for use in the case. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                   1,740.23

Docket fees under 28 U.S.C. 1923 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
Costs as shown on Mandate of Court of Appeals . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
Compensation of court-appointed experts . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
Compensation of interpreters and costs of special interpretation services under 28 U.S.C. 1828 . . . . .
Other costs (please itemize) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                                                                                                                                               TOTAL            $          18,060.73

SPECIAL NOTE: Attach to your bill an itemization and documentation for requested costs in all categories.

                                                                                        Declaration
          I declare under penalty of perjury that the foregoing costs are correct and were necessarily incurred in this action and that the
services for which fees have been charged were actually and necessarily performed. A copy of this bill has been served on all parties
in the following manner:
         ’          Electronic service                                    ’         First class mail, postage prepaid
         ’          Other:
             s/ Attorney:              Robert W. Schmidt
                          Name of Attorney: Robert W. Schmidt
For:                                                         Evdokia Nikolova                                                                        Date:          09/12/2022
                                                             Name of Claiming Party

                                                                                   Taxation of Costs
Costs are taxed in the amount of                                                                                                                         and included in the judgment.

                                                                                  By:
                           Clerk of Court                                                                       Deputy Clerk                                             Date
                                         Exhibit 4, Tabulation of Costs, AO 133, and Documentation, Page 3 of 73
                    Case 1:19-cv-00877-RP Document 111-6 Filed 09/13/22 Page 4 of 73
AO 133 (Rev. 12/09) Bill of Costs


                                     UNITED STATES DISTRICT COURT
                                    Witness Fees (computation, cf. 28 U.S.C. 1821 for statutory fees)
                                                                     ATTENDANCE           SUBSISTENCE            MILEAGE
                                                                                                                                        Total Cost
           NAME , CITY AND STATE OF RESIDENCE                                   Total               Total                Total         Each Witness
                                                                     Days       Cost      Days      Cost      Miles      Cost


                                                                                                                                                $0.00



                                                                                                                                                $0.00



                                                                                                                                                $0.00



                                                                                                                                                $0.00



                                                                                                                                                $0.00


                                                                                                                                                $0.00


                                                                                                                    TOTAL                       $0.00


                                                                      NOTICE

  Section 1924, Title 28, U.S. Code (effective September 1, 1948) provides:
  “Sec. 1924. Verification of bill of costs.”
      “Before any bill of costs is taxed, the party claiming any item of cost or disbursement shall attach thereto an affidavit, made by himself or by
  his duly authorized attorney or agent having knowledge of the facts, that such item is correct and has been necessarily incurred in the case and
  that the services for which fees have been charged were actually and necessarily performed.”

  See also Section 1920 of Title 28, which reads in part as follows:
      “A bill of costs shall be filed in the case and, upon allowance, included in the judgment or decree.”

  The Federal Rules of Civil Procedure contain the following provisions:
  RULE 54(d)(1)
  Costs Other than Attorneys’ Fees.
      Unless a federal statute, these rules, or a court order provides otherwise, costs — other than attorney's fees — should be allowed to the
  prevailing party. But costs against the United States, its officers, and its agencies may be imposed only to the extent allowed by law. The clerk
  may tax costs on 14 day's notice. On motion served within the next 7 days, the court may review the clerk's action.

  RULE 6
  (d) Additional Time After Certain Kinds of Service.

      When a party may or must act within a specified time after service and service is made under Rule5(b)(2)(C), (D), (E), or (F), 3 days are
  added after the period would otherwise expire under Rule 6(a).
  RULE 58(e)
  Cost or Fee Awards:
       Ordinarily, the entry of judgment may not be delayed, nor the time for appeal extended, in order to tax costs or award fees. But if a
  timely motion for attorney's fees is made under Rule 54(d)(2), the court may act before a notice of appeal has been filed and become
  effective to order that the motion have the same effect under Federal Rule of Appellate Procedure 4(a)(4) as a timely motion under Rule 59.



                                Exhibit 4, Tabulation of Costs, AO 133, and Documentation, Page 4 of 73
        Print                        Save As...                                                                                         Reset
Case 1:19-cv-00877-RP Document 111-6 Filed 09/13/22 Page 5 of 73




                             Filing Fees




      Exhibit 4, Tabulation of Costs, AO 133, and Documentation, Page 5 of 73
                Case 1:19-cv-00877-RP Document 111-6 Filed 09/13/22 Page 6 of 73


Susan Sinclair
From:                      notification@pay.gov
                                                              EllE COPY
Sent:                      Monday, September 09, 2019 5:52 PM
To:                        Bob Schmidt; Susan Sinclair
Subject:                   Pay.gov Payment Confirmation: TXWD CM ECF

Your payment has been submitted to Pay.gov and the details are below. If you have any questions or you wish to cancel
this payment, please contact James Thompson at 210-472-4955, X2817.

Application Name: TXWD CM ECF
Pay.gov Tracking ID: 26K38SHR
Agency Tracking ID: 0542-12582384
                                                                          [ v doll--.1&   N ·\ �o\av �
Transaction Type: Sale
Transaction Date: Sep 9, 2019 6:51:57 PM
                                                                          ��i ver-si+.r       of   Ye1 ;;,s oA   Av'i.,ti(I
Account Holder Name: Robert Schmidt
Transa ~~--unt: $400.00
Card Ty
Card N -·-***********3792
            �1N\b, 6o6
THIS IS AN AUTOMATED MESSAGE. PLEASE DO NOT REPLY.




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                         Exhibit 4, Tabulation of Costs, AO 133, and Documentation, Page 6 of 73
Case 1:19-cv-00877-RP Document 111-6 Filed 09/13/22 Page 7 of 73




               District Court Transcripts




      Exhibit 4, Tabulation of Costs, AO 133, and Documentation, Page 7 of 73
Case 1:19-cv-00877-RP Document 111-6 Filed 09/13/22 Page 8 of 73



  United States District Court                                                                 Date: 03/31/2022
  Western District of Texas                                                          Invoice Number: 202201466

   To:                                                       Make Checks Payable To:
   Crews Law Firm, P.C.                                      Ms. Lily Iva Reznik
   701 Brazos Street                                         Official Court Reporter
   Suile 900                                                 501 West 5th Street, Suite 4153
   Austin, Texas, 78701                                      Austin, Texas, 78701
                                                             Phone: 512-391-8792
                                                             Fax: 512-916-5894
                                                             Email: lllylvareznik@austin.rr.com


   Case Details:
  C ase Number: A 19-CA-877 RP                               Proceeding Date: Mar 10, 2022
  Case Tille: Evdokia Nlkolova-vs. University of Texas at    courthouse: Western District of Texas, Austin Division
  Austin                                                     Judge Hearing Case: Judge Robert L. Pitman
  case Description: Trial Testimony of Thomas Glass and
  Donald Deere March 10, 2022 Judge Robert L. Pitman
  Criminal or Civil: Civil


   Charges:

     Page Type                                  Page Count                  Rate                  Sub-Total


    Expedited 1st Copy                          76                          $1.50                 $ll4.00




   Total: $114.00



   Amount Due: $114.00


  Isl Lily Reznik




          Exhibit 4, Tabulation of Costs, AO 133, and Documentation, Page 8 of 73
Case 1:19-cv-00877-RP Document 111-6 Filed 09/13/22 Page 9 of 73



  United States District Court                                                               Date: 04/28/2022
  Western District of Texas                                                        Invoice Number: 202201508

  To:                                                       Make Checks Payable To:
  Crews Law Firm, P. C .                                    Ms. Lily Iva Reznik
  701 Brazos Street                                         Official Court Reporter                                       PAID
  Suite 900                                                 501 West 5th Street, Suite 4153
                                                                                                            CHECK NO. I\    Sr'¼+
  Austin, Texas, 78701                                      Austin, Texas. 78701
                                                            Phone: 512-391-8792                             AMOUNT    st?
                                                                                                                       l    ocn , 1 oo
                                                            Fax: 512-916-5894
                                                            Email: lilyivmeznik@austin.rr.com               DATE     5]
                                                                                                                      8o     I 00
  Case Details:
  Case Number: A 19-CA-877 RP                               Proceeding Date: Mar 10, 2022
  Case Title: Evdokia Nikolova vs. University of Texas at   Courthouse: Western District of Texas, Austin Division
  Austin                                                    Judge Hearing Case: Judge Robert L. Pitman
  Case Description: Trial Testimony of Jennifer Welch and
  Evdokia Nikolova March 10, 2022 Judge Robert L Pitman
  Criminal or Civil: Civil


  Charges:

    Page lype                                 Page Count                  Rate                  Sub-Total


    Expedited Original                        128                         $5.45                 $697.60



  Total: $697.60



  Amount Due: $697.60


  Isl Lily Reznik




           Exhibit 4, Tabulation of Costs, AO 133, and Documentation, Page 9 of 73
Case 1:19-cv-00877-RP Document 111-6 Filed 09/13/22 Page 10 of 73




                   Deposition Transcripts




      Exhibit 4, Tabulation of Costs, AO 133, and Documentation, Page 10 of 73
         Case 1:19-cv-00877-RP Document 111-6 Filed 09/13/22 Page 11 of 73


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�qu1c kboo ks.

   Payment receipt

   You paid $1,405.75
   to Integrity Legal Support Solutions on April 22, 2021


   Invoice no.                                                           15472
   Invoice amount                                                   $1,405.75
   Total                                                            $1,405.75


   Payment method                                              VISA****2277
   Authorization ID                                          PS0013524163


   Thank you
   Integrity Legal Support Solutions
   billing@integrity-texas.com
   I I




               Exhibit 4, Tabulation of Costs, AO 133, and Documentation, Page 11 of 73
                 Case 1:19-cv-00877-RP Document 111-6 Filed 09/13/22 Page 12 of 73



            INTEGRITY
             legal snpport solnlions
                                                                                                                INVOICE
             P.O. Box 245 I Manchaca, Texas 78652




Law Office of Robert Nqtzon
1502 West Avenue
Austin, Texas 78701                                                             Evdokia Nikolova
                                                                                vs.
                                                                                University of Texas at Austin



All invoices are due and payable in Travis County, Texas.
Checks can be made payable to Integrity Legal Support Solutions, sent to the address listed above.
Tax ID No. XX-XXXXXXX HUB No. 1201005853000



     3/19/2021         Original & Complimentary Copy - Christine Julien
                       Exhibit Pages
                       Electronic Formatting of Transcript/ASCII
                       Signature Letter• Filing Letter
                       Administrative Fee
                       Sales Tax - Non-Taxable Legal Services




                                                             www.integrity-texas.com                 TOTAL        $1,405.75




                           Exhibit 4, Tabulation of Costs, AO 133, and Documentation, Page 12 of 73
      Case 1:19-cv-00877-RP Document 111-6 Filed 09/13/22 Page 13 of 73



cfuickbooks.

Payment receipt

You paid $2,652.50
to Integrity Legal Support Solutions on April 22, 2021


Invoice no.                                                            15471
Invoice amount                                                   $2,652.50
Total                                                            $2,652.50


Payment method                                              VISA****2277
Authorization ID                                          PS0013523175


Thank you
Integrity Legal Support Solutions
billing@integrity-texas.com
I I




            Exhibit 4, Tabulation of Costs, AO 133, and Documentation, Page 13 of 73
                 Case 1:19-cv-00877-RP Document 111-6 Filed 09/13/22 Page 14 of 73



            INTEGRITY
            legal support solnlians
                                                                                                                INVOICE
            P.O. Box 245 I Manchaca, Texas 78652




Law Office of Robert Notzon
1502 West Avenue
Austin, Texas 78701                                                             Evdokia Nikolova
                                                                                vs.
                                                                                University of Texas at Austin



All invoices are due and payable in Travis County, Texas.
Checks can be made payable to Integrity Legal Supp01i Solutions, sent to the address listed above.
Tax ID No. XX-XXXXXXX HUB No. 1201005853000



     3/18/2021         Original & Complimentary Copy - Sharon Wood
                       After Hours Time
                       Exhibit Pages
                       Electronic Formatting ofTranscript/ASCII
                       Signature Letter - Filing Letter
                       Administrative Fee
                       Sales Tax - Non-Taxable Legal Services




                                                                                                     TOTAL        $2,652.50




                           Exhibit 4, Tabulation of Costs, AO 133, and Documentation, Page 14 of 73
     Case 1:19-cv-00877-RP Document 111-6 Filed 09/13/22 Page 15 of 73




Payment receipt

You paid $2,952.00
to Integrity Legal Support Solutions on May 3, 2021


Invoice no.                                                           15484
Invoice amount                                                  $2,952.00
Total                                                           $2,952.00


Payment method                                             VISA****2277
Authorization ID                                         PQ0018227117


Thank you
Integrity Legal Support Solutions
billing@integrity-texas.com
,,




           Exhibit 4, Tabulation of Costs, AO 133, and Documentation, Page 15 of 73
                 Case 1:19-cv-00877-RP Document 111-6 Filed 09/13/22 Page 16 of 73



            INTEGRITV
             legal support solutions
                                                                                                                INVOICE
             P.O. Box 245 I Manchaca, Texas 78652




Law Office of Robert Notzon
1502 West Avenue
Austin, Texas 78701                                                             Evdokia Nikolova
                                                                                vs.
                                                                                University of Texas at Austin



All invoices are due and payable in Travis County, Texas.
Checks can be made payable to Integrity Legal Support Solutions, sent to the address listed above.
Tax ID No. XX-XXXXXXX HUB No. 1201005853000



     3/20/2021         Original & Complimentary Copy - Ahmed Tewfik
                       Court Reporter Per Diem - Weekend
                       Exhibit Pages
                       Signature Letter• Filing Letter
                       Administrative Fee
                       Sales Tax• Non-Taxable Legal Services




                                                                                                     TOTAL        $2,952.00




                           Exhibit 4, Tabulation of Costs, AO 133, and Documentation, Page 16 of 73
  Case 1:19-cv-00877-RP Document 111-6 Filed 09/13/22 Page 17 of 73


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qu1c kboo ks.

Payment receipt

You paid $2,082.25
to Integrity Legal Support Solutions on June 21, 2021


Invoice no.                                                       15521
Invoice amount                                               $2,082.25
Total                                                        $2,082.25


Payment method                                          VISA****2277
Authorization ID                                      PH0088916480


Thank you
Integrity Legal Support Solutions
billing@integrity-texas.com




        Exhibit 4, Tabulation of Costs, AO 133, and Documentation, Page 17 of 73
                 Case 1:19-cv-00877-RP Document 111-6 Filed 09/13/22 Page 18 of 73



            I NTEG RITV
            legal snppart salntians
                                                                                                                INVOICE
            P.O. Box 245 I Manchaca, Texas 78652




Law Office of Robert Notzon
1502 West Avenue
Austin, Texas 78701                                                             Evdokia Nikolova
                                                                                vs.
                                                                                University of Texas at Austin



All invoices are due and payable in Travis County, Texas.
Checks can be made payable to Integrity Legal Support Solutions, sent to the address listed above.
Tax ID No. XX-XXXXXXX HUB No. 1201005853000



     5/27/2021         Original & Complimentary Copy - Gregory Fenves
                       Court Reporter Per Diem
                       Exhibit Pages
                       Electronic Formatting of Transcript/ASCII
                       Signature Letter - Filing Letter
                       Sales Tax - Non-Taxable Legal Services




                                                                                                     TOTAL        $2,082.25




                           Exhibit 4, Tabulation of Costs, AO 133, and Documentation, Page 18 of 73
  Case 1:19-cv-00877-RP Document 111-6 Filed 09/13/22 Page 19 of 73



cfuickbooks.

Payment receipt

You paid $1,944.05
to Integrity Legal Support Solutions on June 23, 2021


Invoice no.                                                        15534
Invoice amount                                               $1,944.05
Total                                                        $1,944.05


Payment method                                          VISA****2277
Authorization ID                                      PH0089410293


Thank you
Integrity Legal Support Solutions
billing@integrity-texas.com




        Exhibit 4, Tabulation of Costs, AO 133, and Documentation, Page 19 of 73
                 Case 1:19-cv-00877-RP Document 111-6 Filed 09/13/22 Page 20 of 73



            I NTEG RITV
            legal support solutions
                                                                                                                INVOICE
            P.O. Box 245 I Manchaca, Texas 78652




Law Office of Robert Notzon
1502 West Avenue
Austin, Texas 78701                                                             Evdokia Nikolova
                                                                                vs.
                                                                                University of Texas at Austin



All invoices are due and payable in Travis County, Texas.
Checks can be made payable to Integrity Legal Suppo1i Solutions, sent to the address listed above.
Tax ID No. XX-XXXXXXX HUB No. 1201005853000



     5/28/2021         Original & Complimentary Copy - Carmen Shockley
                       Comi Repo1ier Per Diem
                       Exhibit Pages
                       Signature Letter - Filing Letter
                       Subtotal - 1134.30

                       Original & Complimentary Copy - Jerry Speitel
                       Court Reporter Per Diem
                       Exhibit Pages
                       Signature Letter - Filing Letter
                       Subtotal - 809.75
                       Sales Tax - Non-Taxable Legal Services




                                                              www.integrity-texas.com                TOTAL        $1,944.05



                                                                       To pay your invoice by credit card or bank draft,
                                                                       please follow the link within the body of the email.



                           Exhibit 4, Tabulation of Costs, AO 133, and Documentation, Page 20 of 73
  Case 1:19-cv-00877-RP Document 111-6 Filed 09/13/22 Page 21 of 73


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qu1ckbooks.

Payment receipt

You paid $1,371.05
to Integrity Legal Support Solutions on June 23, 2021


Invoice no.                                                         15533
Invoice amount                                                $1,371.05
Total                                                         $1,371.05


Payment method                                           VISA****2277
Authorization ID                                        PJ0089264846


Thank you
Integrity Legal Support Solutions
billing@integrity-texas.com




         Exhibit 4, Tabulation of Costs, AO 133, and Documentation, Page 21 of 73
                 Case 1:19-cv-00877-RP Document 111-6 Filed 09/13/22 Page 22 of 73



            INTEG RITY
             legal s u pp o rt s o l u ti o ns
                                                                                                                INVOICE
             P.O. Box 245 I Manchaca, Texas 78652




Law Office of Robert Notzon
1502 West Avenue
Austin, Texas 78701                                                             Evdokia Nikolova
                                                                                vs.
                                                                                University of Texas at Austin



All invoices are due and payable in Travis County, Texas.
Checks can be made payable to Integrity Legal Support Solutions, sent to the address listed above.
Tax ID No. XX-XXXXXXX HUB No. 120 1005853000



      6/9/2021         Original Transcript - John Dalton
                       Court Reporter Per Diem
                       Exhibit Pages
                       Signature Letter - Filing Letter
                       Sales Tax - Non-Taxable Legal Services




                                                              www.integrity-texas.com                TOTAL        $1,371 .05




                           Exhibit 4, Tabulation of Costs, AO 133, and Documentation, Page 22 of 73
  Case 1:19-cv-00877-RP Document 111-6 Filed 09/13/22 Page 23 of 73


mtu•t
qu1c kboo ks.

Payment receipt

You paid $ 2 9 2 . 00
to Integrity Legal Support Solutions on July 9, 2021


Invoice no.                                                     15547. 1
Invoice amount                                                  $292.00
Total                                                           $292.00


Payment method                                          VISA****2277
Authorization ID                                     MS0023017490


Thank you
Integrity Legal Support Solutions
billing@integrity-texas.com




        Exhibit 4, Tabulation of Costs, AO 133, and Documentation, Page 23 of 73
                 Case 1:19-cv-00877-RP Document 111-6 Filed 09/13/22 Page 24 of 73



            I NTEG RITY
             legal snppart solntians
                                                                                                                INVOICE
            P.O. Box 245 I Manchaca, Texas 78652




Law Office of Robert Notzon
1502 West Avenue
Austin, Texas 7870 I                                                            Evdokia Nikolova
                                                                                vs.
                                                                                University of Texas at Austin



All invoices are due and payable in Travis County, Texas.
Checks can be made payable to Integrity Legal Support Solutions, sent to the address listed above.
Tax ID No. XX-XXXXXXX HUB No. 1201005853000



     6/22/2021         Copy of Transcript - Shane Thompson, Ph.D
                       Exhibit Pages
                       Administrative Fee
                       Sales Tax• Non-Taxable Legal Services




                                                                                                     TOTAL         $292.00




                           Exhibit 4, Tabulation of Costs, AO 133, and Documentation, Page 24 of 73
      Case 1:19-cv-00877-RP Document 111-6 Filed 09/13/22 Page 25 of 73



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    Payment receipt

    You paid $382.00
    to Integrity Legal Support Solutions on July 9, 2021


    Invoice no.                                                     15555.1
    Invoice amount                                                  $382.00
    Total                                                           $382.00


    Payment method                                          VISA****2277
    Authorization ID                                     MU0015011355


    Thank you
    Integrity Legal Support Solutions
    billing@integrity-texas.com




            Exhibit 4, Tabulation of Costs, AO 133, and Documentation, Page 25 of 73
                 Case 1:19-cv-00877-RP Document 111-6 Filed 09/13/22 Page 26 of 73



            Il e NTEG        RITY
                 gal support solutions
                                                                                                                INVOICE
             P.O. Box 245 I Manchaca, Texas 18652




Law Office of Robert Notzon
1502 West Avenue
Austin, Texas 78701                                                             Evdokia Nikolova
                                                                                vs.
                                                                                University of Texas at Austin



All invoices are due and payable in Travis County, Texas.
Checks can be made payable to Integrity Legal Suppo11 Solutions, sent to the address listed above.
Tax ID No. XX-XXXXXXX HUB No. 1201005853000



     6/23/2021         Copy of Transcript - Tom Glass
                       Exhibit Pages
                       Administrative Fee
                       Sales Tax • Non-Taxable Legal Services




                                                                                                     TOTAL         $382.00




                           Exhibit 4, Tabulation of Costs, AO 133, and Documentation, Page 26 of 73
  Case 1:19-cv-00877-RP Document 111-6 Filed 09/13/22 Page 27 of 73


m+u1+
qu1ckbooks.

Payment receipt

You paid $1,022.80
to Integrity Legal Support Solutions on October 5, 2021


Invoice no.                                                     15568.1
Invoice amount                                               $1,022.80
Total                                                        $1,022.80


Payment method                                          VISA****2277
Authorization ID                                     MS0043385996


Thank you
Integrity Legal Support Solutions
billing@integrity-texas.com




        Exhibit 4, Tabulation of Costs, AO 133, and Documentation, Page 27 of 73
                 Case 1:19-cv-00877-RP Document 111-6 Filed 09/13/22 Page 28 of 73



            INTEGRITV
             legal support solnlians
                                                                                                                INVOICE
            P.O. Box 245 I Manchaca, Texas 78652




Law Office of Robert Notzon
1 502 West Avenue
Austin, Texas 7870 1                                                            Evdokia Nikolova
                                                                                vs.
                                                                                University of Texas at Austin


All invoices are due and payable in Travis County, Texas.
Checks can be made payable to Integrity Legal Support Solutions, sent to the address listed above.
Tax ID No. XX-XXXXXXX HUB No. 1201005853000



     6/29/2021         Copy of Transcript - Evdokia Nikolova
                       Exhibit Pages
                       Administrative Fee
                       Sales Tax - Non-Taxable Legal Services




                                                             www.integrity-texas.com                 TOTAL        $1,022.80




                           Exhibit 4, Tabulation of Costs, AO 133, and Documentation, Page 28 of 73
      Case 1:19-cv-00877-RP Document 111-6 Filed 09/13/22 Page 29 of 73



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�mtu1t




    Payment receipt

    You paid $1,004.05
    to Integrity Legal Support Solutions on November 1 1 , 2021


    Invoice n o .                                                   15652.1
    Invoice amount                                               $1,004.05
    Total                                                        $1,004. 05


    Payment method                                        AMEX****1012
    Authorization ID                                     MS0051479982


    Thank you
    Integrity Legal Support Solutions
    billing@integrity-texas.com




            Exhibit 4, Tabulation of Costs, AO 133, and Documentation, Page 29 of 73
                 Case 1:19-cv-00877-RP Document 111-6 Filed 09/13/22 Page 30 of 73



            I NTEG RITV
            leg a l s u pp o rt s o l u ti o n s
                                                                                                                INVOICE
            P.O. Box 245 I Manchaca, Texas 78652




Law Office of Robert Notzon
1502 West Avenue
Austin, Texas 78701                                                             Evdokia Nikolova
                                                                                vs.
                                                                                University of Texas at Austin



All invoices are due and payable in Travis County, Texas.
Checks can be made payable to Integrity Legal Support Solutions, sent to the address listed above.
Tax ID No. XX-XXXXXXX HUB No. 1201005853000



     11/5/2021         Copy of Transcript - Dr. Peter Glick
                       Exhibit Pages
                       Administrative Fee
                       Sales Tax - Non-Taxable Legal Services




                                                              www.integrity-texas.com                TOTAL        $1,004.05




                           Exhibit 4, Tabulation of Costs, AO 133, and Documentation, Page 30 of 73
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                            Copies




      Exhibit 4, Tabulation of Costs, AO 133, and Documentation, Page 31 of 73
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10/12/2020                                                                  PACER: CSO Billing History

BILLING HISTORY
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                                                          from 07/01/2020 to 09/30/2020

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  3155487               TXSDC                 07/28/2020           NIKOLOVA                                   50                       0   $5.00
  3155487               TXWDC                 07/28/2020           NIKOLOVA                                    21                      0   $2.10
  Subtotal:                                                  78    pages                                            $7,80
                                                              0    audio flies ($2.40 ea)                           $0,00
                                                                                                                    $7.80 ✓
   07/29/2020
  3155487               TXWDC                 07/29/2020           NIKOLOVA                                    49                      0   $4.90




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   Subtotal:                                                 49    pages                                            $4.90
                                                              0    audio files ($2.40 ea)                           $0.00
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   07/:'!0/2020
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  Subtotal:
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   3155487              OOPCL                 08/13/2020                                                        l                      0   $0.10
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   Subtotal:                                                  14   pages                                            $1.40
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   09/04-/2020
   3155487              05CA                  09/04/2020                                                        1                      0   $0.10
   Subtotal:                                                   1   pages                                            $0.10
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   09/15/2020
   3155487              MADC                 09/15/2020            NIKOLOVA                                   105                      0   $10.50
  3155487               NCMDC                09/15/2020            NIKOLOVA                                    9                       0   $0,90
   3155487              WIEDC                09/15/2020            NIKOLOVA                                     2                      0   $0.20
  Subtotal:                                                 116    pages                                            $11.60
                                                              0    audio files ($2.40 ea)                           $0.00
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   09/23/2020
   3155487              TXEDC                09/23/2020            NIKOLOVA                                    11                      0   $1.10
  3155487               TXWDC                09/23/2020            NIKOLOVA                                    3                       0   $0,30
  Subtotal:                                                  14    pages                                            $1.40
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                                 Exhibit 4, Tabulation of Costs, AO 133, and Documentation, Page 32 of 73
                        Case 1:19-cv-00877-RP Document 111-6 Filed 09/13/22 Page 33 of 73
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                                       Exhibit 4, Tabulation of Costs, AO 133, and Documentation, Page 33 of 73
                     Case 1:19-cv-00877-RP Document 111-6 Filed 09/13/22 Page 34 of 73
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                                                    Summary Details Transaction Report by Date
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                               Court                Date                  Client Code                             Audio                  Cost




   Subtotal:                                                 44      pages                              $4,40

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   Subtotal:                                                 32      pages                              $3.20

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   Grand Total:                                             1 57     pages                              $1 5.70

                                                              0      audio files ($2.40 ea)             $0.00

                                                                                                        $1 5.70



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                                Exhibit 4, Tabulation of Costs, AO 133, and Documentation, Page 34 of 73
                                Case 1:19-cv-00877-RP Document 111-6 Filed 09/13/22 Page 35 of 73


                                                                                                                                           INVOICE

                rainmaker                                                                                            Invoice No: INV1532093
                0 11 ( -.: � f! n t T t t h 1 o i o- 1 t e \
                           •ow••co n vb - o                                                                                  Date:    3/10/2022
                                                                                                                     Account No:      RM-0077




BIii To:             Crews Law Film, P.C.                                                 Ship To:   Crews Law Finn, P.C.
                     Attn: ACCOUNTS PAYABLE                                                          Attn: ACCOUNTS PAYABLE
                     701 Brazos Suite 900                                                            701 Brazos Suite 900
                     Austin, TX 78701                                                                Austin, TX 78701




                                                                                                                                                  :l-;t��tm1
EDS:Dlgilal               Digital Black and Whit!! Prints                       3763.0   3763.0      0.0     EACH            $0.10                     $37630
Scan/PrintDigital
BW Prints
EDS:Dlgilal               Digital Color Prints                                  1525.0   1525.0      0.0     EACH           $0.59                      $899.75
Scan/Print Digital
Color Prints
TDS:1 Paper               Oversize 11x17                                         16,0     16.0       0.0     EACH            $0.35                       $5.60
Process:Ove!Size
11x17
TDS:2 Color               Color 11x17                                            28,0     28.0       0.0     EACH            $2.00                      $56.00
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11x17
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 DM- Supp{les:Tabs        Tabs                                                  300.0    300.0       0,0     EACH            $0.25                      $75.00




 Please remit to:                                                                                                                    Subtotal        $1,547.65
 UBEO lLC
 FEIN # XX-XXXXXXX                                                                                                                   Discount           $0.00
 P O Box 791070                                                                                                                       Freight           $0.00
 San Antonio, TX 78279
                                                                                                                                 Sales Tax            $127.68
 210-918-6000
                                                                                                                             Invoice Total          $1,675.33
 For Credit Card payments                                                                                                     Balance Due           $1,675.33
 https://elnfo.ubeo.com/elnlb/Gateway/Login

 Please reach out to receivables@ubeo.com lbr portal aa:ess and instructions.




                                                                                                                                                   Page 1 of 1

                                                  Exhibit 4, Tabulation of Costs, AO 133, and Documentation, Page 35 of 73
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      Expert Witness Fees & Expenses




      Exhibit 4, Tabulation of Costs, AO 133, and Documentation, Page 36 of 73
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                                                      Bri gg s & Veselka                            Co.
                                                      A L I M I T E D L I A B I L I T Y PA R T N E R S H I P
                                                      Certified Public Accountants and Business Advisors

                                               P.O. Box 4792, Houston, TX 77210-4792
                                                 (713) 667-9147 FAX (713) 667-1697
                                                            ID #XX-XXXXXXX


Dr. Evdokia Nikolova                                                                         Invoice No.       1 08420
Mr. Robert Schmidt                                                                           Date              6/1/2021
70 I Brazos, Suite 900                                                                       Client No.        60795
Austin, TX 78701



FOR PROFESSIONAL SERVICES RENDERED:



                                                                                                                          !!fil!!],    Amount

04/06/2021       General Telephone Conf/Meeting        Glass, Thomas                                                         1 .50     $450.00
                 Telephone calls with Steve Bast and Bob Schmidt; begin review of documents

04/13/2021       Analysis ofData                       Glass, Thomas                                                         1 .50     $450.00
                 Review documents; telephone calls with Robert Schmidt

04/1 8/202 1     Report Preparation                     Glass, Thomas                                     8.00                        $2,400.00
                 Prepare report on lost compensation due to discrimination and violation of Equal Pay Act

04/19/2021       Finalize Expert Report                          Glass, Thomas                                               0.75      �225.00
                 Finalize and issue report


                                                                                                                          Total:      $3,525.00




                     This balance may include balancesji·om other engagement codes related to this client.

        0-30                    31-60                   61-90                   91-120                 Over 120                 Balance
     $3,525.00                  $0.00                   $0.00                    $0, 00                 $0.00                  $3,525. 00

           A.finance charge of.83% per month (10% per year) will apply to all invoices outstanding over 30 days,

                                  For 011r co11venie11ce, we o
1, Mail checks to:                                                                 2, ACH/Wire Payments:
Driggs & Veselka, Co.                                                         Please call our offices at 713-667-9147
P.O. Box 4792                                                                             or
Houston, TX 77210-4792                                                       Email us at Collections@bvccpa.com
3. To pay by credit card: ltttps:1/qsop.quickfee.com/#/company/quickfeens/firm/bvccpa
                                     PAYMENT DUE UPON RECEIPT




                       Exhibit 4, Tabulation of Costs, AO 133, and Documentation, Page 37 of 73
            Case 1:19-cv-00877-RP Document 111-6 Filed 09/13/22 Page 38 of 73




                                                      Bri gg s & Veselka Co.
                                                     A L I M ITED L I A B I LITY PARTN E R S H I P
                                                     Cerlified Public Accountants and Business Advisors

                                              P.O. Box 4792, Houston, TX 77210-4792
                                                (713) 667-9147 FAX (713) 667-1697
                                                           ID #XX-XXXXXXX


Dr. Evdokia Nikolova                                                                       Invoice Na.       108420
Mr. Robert Schmidt                                                                         Date              6/1/2021
701 Brazos, Suite 900                                                                      Client No.        60795
Austin, TX 78701



FOR PROFESSIONAL SERVICES RENDERED:

                                                                                                        Current Amount Due:   $3.525.00




                     This balance may include balancesfi'om other engagement codes related to this client.

        0-30                    31-60                   61-90                  91-120                 Over 120           Balance
     $3,525.00                  $0.00                   $0. 00                  $0. 00                 $0.00            $3,525.00

           A.finance charge of.83% per month (10% per year) will apply to all invoices outstanding over 30 days.



1. Mail checks to:                                                                2. ACH/Wirc Payments:
B1iggs & Veselka, Co.                                                        Please cnll our offices nt 713-667-9147
P.O. Box 4792                                                                            or
Houston, TX 77210-4792                                                      Emnil us nt Collections@bvccpa.com
3. To pRy by credit card: https://qsop.quickfcc.com/#/company/quickfeeus/firm/bvccp11
                                     PAYMENT DUE UPON RECEIPT




                       Exhibit 4, Tabulation of Costs, AO 133, and Documentation, Page 38 of 73
            Case 1:19-cv-00877-RP Document 111-6 Filed 09/13/22 Page 39 of 73




                                                      Briggs & Veselka Co.
                                                      A L I MITED L I A B I LITY PARTNERSH I P
                                                      Certified Public Accountants and Business Advisors

                                              P.O. Box 4792, Houston, TX 77210-4792
                                                (713) 667-9147 FAX (713) 667-1697
                                                           ID #XX-XXXXXXX


Dr. Evdokia Nikolova                                                                        Invoice No.      126365
Mr. Robert Schmidt                                                                          Date             7/1/2021
701 Brazos, Suite 900                                                                       Client No.       60795
Austin, TX 78701



FOR PROFESSIONAL SERVICES RENDERED:



Date              Service                                        Staff                                                  Hours     Amount

06/04/2021        Review                                         Glass, Thomas                                           2.50     $750.00
                  Review Deere report

06/08/2021        General Telephone Conf/Meeting           Glass, Thomas                                                 1 .00    $300.00
                  Review file, telephone call with attorneys

06/22/2021        General Telephone Conf/Meeting                 Glass, Thomas                                           0.75     $225.00
                  Telephone call with attorneys

06/23/2021        Attend Trial/Hearing/Depo/Medi         Glass, Thomas                                                   3.25     �975.00
                  Review documents; prepare; sit for deposition


                                                                                                                        Total:   $2,250.00

                                                                                                        Current Amount Due:      $2,250.00




                     This balance may include balancesfrom other engagement codes related to this client.

        0-30                    31-60                   61-90                  91-120                 Over 120              Balance
     $5, 775.00                 $0.00                   $0. 00                  $0.00                  $0.00               $5, 775.00

           A finance charge of.83% per month (10% per year) will apply to all invoices outstanding over 30 days.

                                  For our co11ve11ience, we o er tT,e ollowh,

I. Mail checks to:                                                                 2. ACH/Wire Paymenlll:
Driggs & Veselka, Co.                                                         Please call our offices at713-667-9147
P.O. Box 4792                                                                             or
Houston, TX 77210-4792                                                       Emal! us at Collections@bvccpa.com
3. To pay by credit card: https://qsop.qulckfee.com/11/company/quickfeeus/lirm/bvccpa
                                     PAYMENT DUE UPON RECEIPT




                       Exhibit 4, Tabulation of Costs, AO 133, and Documentation, Page 39 of 73
            Case 1:19-cv-00877-RP Document 111-6 Filed 09/13/22 Page 40 of 73




                                                      Bri gg s & Veselka Co.
                                                      A L I M IT E D L I A B ILITY PARTN E R S H I P
                                                      Certified Public Accountants and Business Advisors

                                              P.O. Box 4792, Houston, TX 77210-4792
                                                (713) 667-9147 FAX (713) 667-1697
                                                           ID #XX-XXXXXXX


Dr. Evdokia Nikolova                                                                        Invoice No.      126365
Mr. Robert Schmidt                                                                          Date             7/1/2021
70 l Brazos, Suite 900                                                                      Client No.       60795
Austin, TX 78701



FOR PROFESSIONAL SERVICES RENDERED:




                     This balance may include balancesfrom other engagement codes related to this client.

        0-30                    31-60                   61-90                  91-120                 Over 120           Balance
     $5, 775. 00                $0.00                   $0.00                   $0.00                  $0. 00           $5, 775.00

           A finance charge of.83% per month (10% per year) will apply to all invoices outstanding over 30 days.



1. Mail checks to:                                                                2. ACH/Wire Paymenlll:
Driggs & Veselka, Co.                                                        Please call our offices at 713-667-9147
P.O. Box 4792                                                                            or
Houston, TX 77210-4792                                                      Email us at Collections@bvccpa.com
3. To pay by credit card: hltps://qsop.quickfee.com/#/company/quickfceus/firm/bvccpa
                                     PAYMENT DUE UPON RECEIPT




                        Exhibit 4, Tabulation of Costs, AO 133, and Documentation, Page 40 of 73
Case 1:19-cv-00877-RP Document 111-6 Filed 09/13/22 Page 41 of 73

                          Thomas W. Glass, CPA, PhD



 For Professional Services:

    3/7/2022 Nikolova            2.5 Update and issue report       750.00
                                     Review deposition, prepare
    3/9/2022 Nikolova            2.0 for testimony                 600.00

  3/10/2022 Nikolova             3.0 Testify at hearing.           900.00

                                                                  2,250.00




                                19817 Chayton Cir.
                              pflugerville, TX 78660


       Exhibit 4, Tabulation of Costs, AO 133, and Documentation, Page 41 of 73
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Robert W. Schmidt
Crews Law Firm, P.C.
701 Brazos, Suite 900
Austin, Texas 78701

                                                                         September 9, 2020

Dear Mr. Schmidt,

Thanks for expressing interest in potentially retaining me for Evdokia Niko/ova
v. University of Texas at Austin. Should you choose to retain me, I charge a
nonrefundable retainer of $7,500.00. The retainer often (but not always) covers the work
it takes to produce a report. Should further work be required, I charge $400 per hour plus
expenses for any travel. This hourly rate applies to preparation and consultation time,
including review of materials, conversations (e.g., with plaintiff, lawyers), preparation
and writing an expert report.

For testimony in depositions and at trial, I charge a flat, daily fee of $5,000, paid in
advance, plus travel expenses if testimony cannot be conducted via remote conferencing.

If you accept the terms of this arrangement, please return a signed copy of this letter
along with the retainer fee, payable to Peter Glick, LLC, to my home address:

Peter Glick
494 1 Rivermoor Drive
Omro, WI 54963

Sincerely,

f!/� A /1�
Peter Glick, PhD
Professor of Psychology
Henry Merritt Wriston Professor in the Social Sciences
Lawrence University
••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••
I understand and accept the terms of this consultation agreement with Dr. Glick:


Robert W. Schmidt, Crews Law Firm; Robert Notzon, Law Office of Robert Notzon
Name of Attorney & Firm

                                                                     9/1 7/20
Signature                                                            Date




             Exhibit 4, Tabulation of Costs, AO 133, and Documentation, Page 42 of 73
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Peter Glick, LLC                                                               4941 Rivermoor Drive
                                                                                    Omro WI 54963
INVOICE / 3_1 2_2021 -1




 8 additional hours x $400/hour for writing and reviewing exp ert rep ort                      $3,200




 TOTAL DUE .·                                                                                $3,200.00




Signed: _____________                                      Date: _3/1 2/2021 ____




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                   Exhibit 4, Tabulation of Costs, AO 133, and Documentation, Page 43 of 73
          Case 1:19-cv-00877-RP Document 111-6 Filed 09/13/22 Page 44 of 73




Peter Glick, LLC                                                                  4941 Rivermoor Drive
                                                                                          Omro WI 54963
INVOICE No: 1 2-2-2021-1




 Fee for Nikolova v University of Texas deposition o n November 5 , 2021                               $5,000




 TOTAL DUE                                                                                           $6,0QO.OO




Signed: ______________                                    Date: _1 2/2/2021 ____



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                                                                             DATE / I(JJ  /<zJ
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                  Exhibit 4, Tabulation of Costs, AO 133, and Documentation, Page 44 of 73
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Peter Glick, LLC                                                                4941 Rivermoor Drive
                                                                                         Omro WI 54963
INVOICE No: 3-1 1-2022-1




 Fee for trial testimony on 3/9/2022 in Nikolova v UT-Austin                                    $5,000.00

 Preparation for trial testimony: 1 2 hours @ 400/hour                                          $4,800.00




 Please wire payment to bank account number 291 31 56820; routing number: 075900575 or
 mail check payable to Peter Glick, LLC to 4941 Rlvermoor Drive, Omro WI 54963

 TOTAL DUE                                                                                       $9,800.00




Signed: ______________                                    Date: _3/1 1/2022.____




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                   Exhibit 4, Tabulation of Costs, AO 133, and Documentation, Page 45 of 73
              Case 1:19-cv-00877-RP Document 111-6 Filed 09/13/22 Page 46 of 73



 Peter Glick, LLC
                                                                                           4941 Rivermoor Drive
                                                                                                Omro WI 54963
INVOICE No: 3-1 1 -2022-2




 Hotel (3 nights) $245 + $43.1 7 tax/night = $288. 17/night                                            864.53


 airport to hyatt (taxi)                                                                                46.00


 hyatt to airport (uber)                                                                                26.72


 lunch 3/6/2022                                                                                          1 2.28


 dinner 3/6/2022                                                                                        34.69


 lunch 3/7/2022                                                                                         25.00


 dinner 3/7/2022                                                                                        62.25


 lunch 3/8/2022                                                                                         26.00


 dinner 3/8/2022                                                                                        41 .72


 lunch 3/9/2022                                                                                         1 9.24


 airfare                                                                                                760.2


 flight change                                                                                          41 5.6


 TOTAL                                                                                                2334.21




Signed: _____________                                           Date:    _3/1 1/2022____
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                           Exhibit 4, Tabulation of Costs, AO 133, and Documentation, Page 46 of 73
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                                                                                                                 . Hyatt Place Austin Downtown
                                                                                                                   2 1 1 East 3rd Street
                                                                                                                  Austin, TX 78701
                                                                                                                   Tel: 5 12-476-4440
                                                                                                                   Fax: 51 2-476-4404
                                                                                                                   austindowntown.place.hyatt.com




INVOICE

Robert Schmidt
31 02 Robinson Ave                                                                                               Room No.         181 9
Austin TX 78722
United States                                                                                                    Arrival          03-06-22
                                                                                                                 Departure        03-09-22
Confinnation No.              6370873901                                                                         Folio Window     1
Group Name                                                                                                       Folio No.        431055
Date                      Description                                                                                       Charges            Credits

0�6-22                    Accommodation                                                                                       245.02
03-06-22                  State Tax                                                                                            14.70
03-06-22                  City/Local Tax                                                                                       26.95
03-06-22                  State-Cost Recovery Fee                                                                               1 .50
03-07-22                  Accommodation                                                                                       245.02
03-07-22                  State Tax                                                                                            14.70
03-07-22                  City/Local Tax                                                                                       26.95
03-07-22                  State-Cost Recovery Fee                                                                               1 .50
03-08-22                  Accommodation                                                                                       245.02
03-08-22                  State Tax                                                                                            14.70
03-08-22                  Clty/Loqal Tax                                                                                       26.95
03-08-22                  State-Cost Recovery Fee                                                                               1 .50
03-09-22                  Visa                                               XXXXXXXXXXXX6125 XX/XX                                             864.51


                                                                  Total                                                        864.51           864.51

3uest Signature                                                   Balance                                                        0.00
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l be held peroonalfy Hable In Iha event that the Indicated
el'$0n, company or association rails to pay for any part or
1e Ml amount or these charges.                                                     WE HOPE YOU ENJOYED YOUR STAY WITH US!


                                                                  Thank you for choosing Hyatt Place Austin Downtown. Our goal Is to provide every guest
                                                                  with an exceptional stay and we are Interested in any comments regarding your visit.
�embership:                      XXXXXX194H
                                                                  Please.remit payment to:
lonus Codes:                                                           t
                                                                  Hyat Place Austin Downtown
luallfying Nights:   3                                            Acct 2404-501170
:ligible Spend:      735.06                                       62960 Collection Drive
ledemptlon Eligible: 0.00                                         Chicago, IL 60693-0960

 iummary Invoice, please see front desk
 lr eligibility details.




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                                              Exhibit 4, Tabulation of Costs, AO 133, and Documentation, Page 47 of 73
              Case 1:19-cv-00877-RP Document 111-6 Filed 09/13/22 Page 48 of 73




Peter Glick

From:                        Uber Receipts <noreply@uber.com>
Sent:                        Wednesday, March 9, 2022 2:40 PM
To:                          Peter Glick
Subject:                     Your Wednesday afternoon trip with Uber




              Tota l                                                   $26.72
              Trip Fare                                                    $1 6.36




              Subtotal                                                     $ 1 6.36

              Regulatory Cost Recovery Charge                               $0.1 2

              Tolls, Surcharges, and Fees 8                                 $5.79

              Tip                                                           $4.45



              Payments

              Ill    Visa ....6125                                         $26.72
                     3/9/22 2:40 PM


                                                     1




                    Exhibit 4, Tabulation of Costs, AO 133, and Documentation, Page 48 of 73
                 Case 1:19-cv-00877-RP Document 111-6 Filed 09/13/22 Page 49 of 73



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                                                     Aust in , T)< 78701
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                Customer Copy                      www . ma i koaust in . com
Cedar Door
                                               Server : Esteban R
Cedar Door                                     Check ff5          Tabl e D5
                                               Guest Count : 1
201 Brazos St                                  O rdered :  3/7/22 1 2 : 1 9 PM
Austin, TX 78701
(512) 473-3712                                  Input Type
                                                         C (EMV Ch i p Read)
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Sun 3/6/2022 6:52 :51 PM                       T i me                     1 2 : 59 PM
Check 131     Tab GLICK/PETE
BAR B.                                         Transaction Type         Sale
Station Term5                                  Authorizat i on     App roved
                                               Approval Code         0791 20
                                               Paymen1' ID     kVRJ7NhMdtMP
I AGREE TO THE TERMS OF THE CARDHOLDER         Appl ica tion ID
AGREEMENT                                                       A0000000031 01 0
                                               Appl i ca t i on Label
Visa XXXXXXXXXXXX6125                                              VISA CREDI T
Approval 07585D                                Terminal ID
                                               Card Reader
BASE                                $28 .69                     MAGTEK_EOVNAMO
                                                            Amount
TIP
                                                             + Tip :

 TOTAL                                                    ::::: Total :

                 customer Copy                 x_________
                                                         PETER GL ICK          - ·-- -
 Thank you for choos1ng Cedar Door!
 Home of the Original Mexican Martini
 Locally owned and operated since 1975                  Custome r Copy
 For events visit www.cedardooraust1n.com

                                                         Happy Hour 4pm-7pml
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                                                 Pl ease visi t our websi te
      ----- --- ------                               www . ma i koaustin . com
                                              - --- ·--·- ·- -------




                          Exhibit 4, Tabulation of Costs, AO 133, and Documentation, Page 49 of 73
              Case 1:19-cv-00877-RP Document 111-6 Filed 09/13/22 Page 50 of 73



                  Ma i ko                                 Swi ft ' s Atti c
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          Aus·t in� TX 78701                            Aust i n . TX 78701
            51 2-852-81 1 8
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Serve r· : Angie W                             Check 1'25          -- Tab le-54
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Guest count : 1
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                                                        Merchant copy




                      Exhibit 4, Tabulation of Costs, AO 133, and Documentation, Page 50 of 73
              Case 1:19-cv-00877-RP Document 111-6 Filed 09/13/22 Page 51 of 73




      Sa l t & Ti me Cafe
    Repub l i c Squa re Pa rk                                   JW MARRIOTT
                                                                   AUSTIN
Serue r : Shannon C                                       1 10 EAST 2ND STREET
Check #26       GLICK . PE TER                            AUSTIN, TEXAS 7870 1
Ordered :     3/9/22 1 : 24 PM
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Term i na l ID                                              Signat
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Card Reader              BBPOS                 Per the Card   Issuer Agree
           PETER GL ICK                                   Customer Copy ment
                                          512-474•·4777
                                                                                             /

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                        Exhibit 4, Tabulation of Costs, AO 133, and Documentation, Page 51 of 73
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Susan Sinclair

From:                                Bob Schmidt
Sent:                                Monday, March 14, 2022 9:25 AM
To:                                  Susan Sinclair; Dalila Deanda
Subject:                             FW: invoices
Attachments:                         Nikolova v UT Austin Testimony and Prep lnvoice.pdf; Nikolova v UT Austin Travel Expenses
                                     lnvoice.docx; AustinNikolovacasereceipts2022.pdf




Robert W. Schmidt
he/him
Crews Law Firm, P.C.
701 Brazos, Suite 900
Austin, Texas 78701
Cell Phone: (512) 484-2276 (Preferred During Coronavirus Situation)
Office: (512) 346-7077, Ext. 103
Fax (512) 342-0007
schm idt@crewsfirm. com
www.crewsfirm.com

THE INFORMATION CONTAINED IN THIS EMAIL COMMUNICATION I S INTENDED ONLY FOR THE PERSONAL AND CONFIDENTIAL USE OF THE
DESIGNATED RECIPIENT. This message may be an ATTORNEY-CLIENT COMMUNICATION, and as such is PRIVILEGED and CONFIDENTIAL. If the
reader of this message is not the intended recipient, you are notified that you have received this communication in error and your review,
dissemination, distribution or copying of this communication is strictly prohibited. If you have received this communication in error, please destroy
this communication and notify us immediately by reply email and/or telephone.


From: Peter Glick <peter.s.glick@lawrence.edu>
Sent: Friday, March 11, 2022 3:33 PM
To: Bob Schmidt <schmidt@crewsfirm.com>
Cc: Robert S. Notzon <robert@notzonlaw.com>
Subject: invoices

          Hi Bob and Robert,

          I'm attaching two invoices, one for expenses and one for income (testimony + prep = $9800). For the
          expenses ($2334.21), I am also attaching supporting receipts (except for one missing one from the taxi
          ride in for $46 that's misplaced). Oops, just realized I forgot to include receipts for airfare ($760 for
          initial ticket + $416 for the changes due to delay going back - I will put those together so you have that
          as well (airfare, totaling $1176 and hotel totaling $864 were by far the bulk of the expenses).

          If you could pay each separately, that would be good because the expenses should not be confused with
          income. But if that is a problem for you, you could combine them (for a total of $12,134.21)
          and I will itemize expenses when I file taxes next year.

          Hope the trial is going well and concluding or concluded! Please let me know that o utcome when the
          jury comes in.

          Best of luck !

          Peter
                                                                         1


                             Exhibit 4, Tabulation of Costs, AO 133, and Documentation, Page 52 of 73
       Case 1:19-cv-00877-RP Document 111-6 Filed 09/13/22 Page 53 of 73




Peter Glick
Henry Merritt Wriston Professor in the Social Sciences
Department of Psychology

Homepage: https://faculty.lawrence.ed u/glickp/
Phone: 920.716.4195




                                                   2



                Exhibit 4, Tabulation of Costs, AO 133, and Documentation, Page 53 of 73
           Case 1:19-cv-00877-RP Document 111-6 Filed 09/13/22 Page 54 of 73

                                                              Precision Analytics Co, LLC       978 McMurdo Circle
                                                                          (801 ) 698-281 7    Castle Rock, Colorado

                          CISION
                                                                                                             801 08
                                                                                                       United States




Billed To                                Date of Issue              I nvoice N umber              Amount Due (USD)
Robert Notzon
Law Office of Robert S. Notzon
                                         04/20/2021

                                         Due Date
                                                                    0000 1 09
                                                                                             $7 , 85 1 . 73
U nited States
                                         05/20/2021




Description                                                                    Rate               Qty     Line Total

Data Analysis                                                               $350.00           0.7833        $274. 1 6
(UT Pregnancy Discrimination) Shane Thompson - Mar 9, 2021


Data Analysis                                                               $350.00           3.0333      $ 1 ,061 .66
(UT Pregnancy Discrimination) Shane Thompson - Mar 1 0, 2021


Data Analysis                                                               $350. 00             1 .25      $437.50
(UT Pregnancy Discrimination) Shane Thompson - Mar 1 1 , 202 1


Data Analysis                                                               $350.00           1 . 1 667     $408.35
(UT Pregnancy Discrimination) Shane Thompson - Mar 24, 2021


Expert Report                                                               $350. 00          2. 1 1 67     $740.85
(UT Pregnancy Discrimination) Shane Thompson - Mar 25, 2021


Data Analysis                                                               $350.00           1 .6 1 67     $565.85
(UT Pregnancy Discrimination) Shane Thompson - Mar 26, 202 1


Data Analysis                                                               $350.00              0.75       $262.50
(UT Pregnancy Discrimination) Shane Thompson - Mar 29, 2021


Expert Report                                                               $350. 00              2.8       $980.00
(UT Pregnancy Discrimination) Shane Thompson - Apr 1 , 2021


Data Analysis                                                               $350.00                1 .2     $420.00
(UT Pregnancy Discrimination) Shane Thompson - Apr 2, 2021


Expert Report                                                               $350.00           1 . 1 833     $41 4. 1 6
(UT Pregnancy Discrimination) Shane Thompson - Apr 5, 2021


Expert Report                                                               $350.00           3.3667      $ 1 , 1 78.35
(UT Pregnancy Discrimination) Shane Thompson - Apr 6, 2021
                    Exhibit 4, Tabulation of Costs, AO 133, and Documentation, Page 54 of 73
           Case 1:19-cv-00877-RP Document 111-6 Filed 09/13/22 Page 55 of 73

Expert Report                                                   $350. 00                 1 .65       $577. 50
(UT Pregnancy Discrimination) Shane Thompson - Apr 1 3, 2021


Data Analysis                                                   $350.00               1 . 5 1 67     $530.85
(UT Pregnancy Discrimination) Shane Thompson - Apr 1 9, 2021




                                                                           Subtotal                7,85 1 . 73
                                                                               Tax                       0.00

                                                                          Total                    7,851 .73
                                                                    Amount Paid                         0.00

                                                               Amount Due (USO)                    $7,85 1 . 73


Notes
For work performed to complete the Nikolova report. Thanks !




                    Exhibit 4, Tabulation of Costs, AO 133, and Documentation, Page 55 of 73
             Case 1:19-cv-00877-RP Document 111-6 Filed 09/13/22 Page 56 of 73

                                                             Precision Analytics Co, LLC        978 McMurdo Circle
                                                                         (801 ) 698-281 7     Castle Rock, Colorado

                         CISION
                                                                                                              801 08
                                                                                                       U nited States




Billed To                              Date of Issue               I nvoice N umber                Amount Due (USO)
Robert Notzon
Law Office of Robert S. Notzon
                                       07/01 /2021

                                       Due Date
                                                                   00001 34
                                                                                            $ 1 , 073 . 35
U nited States
                                       07/3 1 /2021




Description                                                                    Rate               Qty      Line Total

Client Meeting                                                             $350.00             0.8 1 67     $285.85
(UT Pregnancy Discrimination) Shane Thompson - Jun 8, 2021


Deposition                                                                 $350.00                1 .25     $437. 50
(UT Pregnancy Discrimination) Shane Thompson - Jun 22, 2021


Deposition Prep                                                            $350.00                   1      $350.00
(UT Pregnancy Discrimination) Shane Thompson - Jun 22, 2021




                                                                                      S ubtotal             1 , 073.35
                                                                                            Tax                  0.00

                                                                                      Total                 1 ,073.35
                                                                                Amount Paid                      0 . 00

                                                                         Amount Due (USO)                 $ 1 , 073. 35


Notes
For work completed on the Nikolova matter during June 202 1 . Thanks!




                    Exhibit 4, Tabulation of Costs, AO 133, and Documentation, Page 56 of 73
           Case 1:19-cv-00877-RP Document 111-6 Filed 09/13/22 Page 57 of 73

                                                             Precision Analytics Co, LLC        978 McMurdo Circle
                                                                         (801 ) 698-281 7     Castle Rock, Colorado

                         CISION
                                                                                                             801 08
                                                                                                       United States




Billed To                             Date of Issue               I nvoice N umber                Amount Due (USO)
Robert Notzon
Law Office of Robert S. Notzon
                                      04/04/2022

                                       Due Date
                                                                  0000224
                                                                                            $6,208 . 8 1
United States
                                       05/04/2022




Description                                                                   Rate                Qty     Line Total

Client Meeting                                                             $350.00                  1       $350.00
(UT Pregnancy Discrimination) Shane Thompson - Mar 4, 2022


Time                                                                       $350.00                2.5       $875.00
(UT Pregnancy Discrimination) Shane Thompson - Mar 4, 2022


Trial Appearance                                                           $350.00                 8      $2,800.00
(UT Pregnancy Discrimination) Shane Thompson - Mar 7, 2022


Expert Witness                                                             $350.00                 1        $350.00
(UT Pregnancy Discrimination) Shane Thompson - Mar 8, 2022


Hotel                                                                      $686.98                 1        $686.98

Flight                                                                     $798. 98                1        $798.98

Lyft and Uber                                                              $347.85                 1        $347.85



                                                                                      Subtotal             6,208.8 1
                                                                                            Tax                0.00

                                                                                      Total                6,208.81
                                                                                Amount Paid                    0.00

                                                                         Amount Due (USO)


Notes
For work performed on the Nikolova trial, expert witness appearance, and travel and lodging expenses.
Thanks!
                    Exhibit 4, Tabulation of Costs, AO 133, and Documentation, Page 57 of 73
               Case 1:19-cv-00877-RP Document 111-6 Filed 09/13/22 Page 58 of 73

<» Expert
   Institute
                                                                                                                    EXPERT I NSTITUTE
                                                                                     48 WALL STREET I FL 31 33 1 NEW YORK, NY I 1 0005
                                                                                                        INFO@EXPERTINSTITUTE.COM
                                                                                                     P: 888 858 951 1 I F: 302-468-5295
                                                                                                         WWW.EXPERTINSTITUTE.COM




BILL TO:
Robert Notzon
The Law Office of Robert Notzon
1 502 West Ave.
Austin , Texas, 78701




PAYM ENT REC E I PT - PAI D
 ID #: 0-098756-1                                                                                                          9/8/2020

 SERVICE DESCRIPTION

 Standard Referral Fee:                                                                                                     $ 1 ,500

 Case:           Nikolova v. University of Texas-Austin

 Specialty:      Engineering Department Administration




                                                                              TOTAL:                                        $ 1 ,500

Note:
If you have any questions concerning this invoice, please contact Audrey Hanna, Market Response Representative at Expert Institute:
audrey@expertinstitute.com, or (646) 849-2003


                                THAN K YOU FOR YOU R BUSIN ESS




                         Exhibit 4, Tabulation of Costs, AO 133, and Documentation, Page 58 of 73
                Case 1:19-cv-00877-RP Document 111-6 Filed 09/13/22 Page 59 of 73


© Expert                                                                                                               F'XPEF<T INSTITUTE
                                                                                    48 WALL STREET I Fl_ 3 1 -'.l3 I NEW YOF!I<, �IY I \ IJOOfi
  Institute                                                                                            IHFO@EXPERTIHSTITUTE.COiv\
                                                                                                    P: 888 858-95 1 1 I F: 302 .. 4G8 529S
                                                                                                        INWW .EXPERTINSTITUTE.CCJM




B I LL TO:
Robert Notzon
The Law Office of Robert Notzon
1 502 West Ave.
Austin, Texas, 78701




 PAYM ENT RECEIPT - PAI D
  ID #: 0-098760-1                                                                                                              9/1 1/2020

  SERVICE DESCRIPTION


  Standard Referral Fee:                                                                                                          $ 1 ,500

  Case:          Nikolova v. University of Texas-Austin

  Specialty:     Labor Economics




                                                                             TOTAL:                                               $ 1 ,500

Note:
If you have any questions concerning this invoice, please contact Audrey Hanna, Market Response Representative at Expert Institute:
audrey@expertinstitute.com, or (646) 849-2003


                                THAN K YOU FOR YOU R BUSINESS




                         Exhibit 4, Tabulation of Costs, AO 133, and Documentation, Page 59 of 73
        Case 1:19-cv-00877-RP Document 111-6 Filed 09/13/22 Page 60 of 73




DATE:            9 ,,. � Lj - d-u
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Case:
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              Exhibit 4, Tabulation of Costs, AO 133, and Documentation, Page 60 of 73
                   Case 1:19-cv-00877-RP Document 111-6 Filed 09/13/22 Page 61 of 73


                                                THE UNIVERSITY OF TEXAS AT AUSTIN
                                                                                   OFFICE O F ACCOUNTING                                           86
                                                                                       P.O. BOX 7 1 59
                                                                                 AUSTIN, TEXAS 787 1 3- 7 1 59


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                                     Exhibit 4, Tabulation of Costs, AO 133, and Documentation, Page 61 of 73
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                                                  KEN PAXTON
                                            ATTORNEY GENERAL OF TEXAS
BENJAMIN L. DOWER                                                                         PHONE: (512) 475-4674
Deputy Division Chief                                                                       FAX: (512) 320-0667
General Litigation Division                                                EMAIL: Benjamin.Dower@oag.texas.gov

                                                    January 13, 2022

Robert W. Schmidt                                                Robert Notzon
Joe K. Crews                                                     THE LAW OFFICE OF ROBERT NOTZON
CREWS LAW FIRM, P .C.                                            1502 West Avenue
701 Brazos, Suite 900                                            Austin TX 78701
Austin TX 78701

Re:     Evdokia Nikolova v. University of Texas at Austin) United States District Court, Western
        District of Texas, Austin Division, Civil Action No. 1:19-cv-00877

Dear Bob and Robert:

       We received your invoices for the three plaintiff's experts we deposed in this case. After
reviewing the details, we had some follow-up. Hopefully we can resolve the details without
involving the Court.

         Federal Rule of Civil Procedure 26(b)(4) (E)(i) states that " [u[nless manifest injustice
would result, the court must require that the party seeking discovery: (i) pay the expert a reasonable
fee for time spent in responding to discovery under Rule 26(b)(4) (A) or (D) . . . . " Rule 26(b)(4) (A)
relates to an expert who may testify at trial and it states, in relevant part, that " [a] party may depose
any person who has been identified as an expert whose opinions may be presented at trial. "

        In the opinion you attached to your email, Judge Pitman held that Rule 26(b) (4) (E) (i) " only
covers time spent on the expert 's deposition. " Nester v. Textron) Inc. , No. 1:13-CV-920-RP, 2016
WL 6537991, at *2 (W.D. Tex. Nov. 3, 2016). Judge Pitman rejected the plaintiffs ' argument that
the entitlement to payment went beyond depositions, noting that Rule 26(b)(4) (E) (i) "is not an
avenue to getting the other side to pay for the costs of your litigation. . . . " Id. But Judge Pitman
did find that time spent preparing for a deposition is compensable so long as it is reasonable. Id.
And, in his opinion, he specifically noted that courts can mitigate the risk of excessive preparation
reimbursement requests "by limiting, rather than excluding, reimbursements for deposition for
preparation time. " Id. at *3-4.

      With that background in mind, I will turn to the requests for reimbursement you submitted
onJanuary 5, 2022.



         Post Office Box 1 2 5 4 8 , Austin, Texas 787 1 1 254 8 • (5 1 2) 463-2 1 00 • www. texasattorneygenera l . go v


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January 13, 2022
Page 2

Dr. Thompson:

    Description                                                              Rate              Qty     Line Total

    Client Meeting                                                     $350.00             0.8167       $285.85
    (UT Pregnancy Di11crimination) Shane Thompson - Jun 8, 2021


    Deposition                                                         $350.00                 1 .25    $437.50
    (UT Pregnancy Discrimination) Shane Thompson - Jun 22, 2021


    Deposition Prep                                                    $350.00                          $350.00
    (UT Pregnancy Discrimination) Shane Thompson - Jun 22, 2021




                                                                                    Subtotal            1 ,073.35
                                                                                        Tax                 0.00

                                                                                       Total            ·1 ,073.35
                                                                             Amount Paid                      0.00

                                                                      Amount Due (USO)                 $1 ,073.35



    Deponent                     Invoice           Total Deposition Time        Shane Deponent Testimony
                                                   (including all breaks)       Regarding Preparation
    Dr. Shane Thompson $1,073.35                   1 hour and 10 minutes 1      • Time spent looking over
                                                   (70 minutes)                    reports; and
                                                                                • 10-minute call. 2
Comparing the deposition timestamps and Dr. Thompson 's testimony to this invoice, UT believes
that Dr. Thompson's invoice is reasonable and will make out a check for payable to Crews Law
Firm in the sum of $1,073.35.




1 June 22,
         2021, from 9:05 AM to 10:15 AM
2
   16 Q, Okay. Perfect. Okay. Well then, I want
   17 to start out just by briefly asking you a little
   18 bit about what you did to prepare for this
   19 deposition if anything. Did you do anything to
   20 prepare for this deposition today?
   21 A. Looked over my reports. Had probably a
   22 IO-minute call with Robert.
   23 Q. Okay.
   24 A. But that's it.
Thompson Depo. 8:16-24.


                                                        Page 2 of 6

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Dr. Glass:

 �             �                                                                       �         Amount

 06/04/2021    Review                                 Giass, Thomas                      2.50    $750.00
               Review Deere report

 06/0812021    General Telephone Con£'Meeti:ng          Giass, Thomas                    1.00    $300.00
               Review file, telephone call with attorneys

 06/22/2021    General Telephone Con£''.Meeting       Giass, Thomas                      0.75    $225.00
               Telephone call with attorneys

 06/23/2021    Attend TrialiHearing/Depo/1\,fedi      Glass, Thomas                      3.25    .$975.00
               Review documents; prepare; sit fur deposiioo


                                                                                       Total:   $2,250.00

                                                                           Current Amount Due: $?   no 00

 Deponent                      Invoice          Total Deposition Time    Glass Deponent Testimony
                                                (including all breaks)   Regarding Preparation
 Dr. Tom Glass                 $2,250.00        1 hour and 30 minutes3   • 20-minute conversation;
                                                (90 minutes)             • 10-minutes reviewing
                                                                            report; and
                                                                         • 10 minutes reading other
                                                                            studies. 4

UT believes that Dr. Glass's invoice is unreasonable. In his deposition, which lasted 90 minutes
(including breaks), Dr. Glass testified he spent 40 minutes preparing. Accounting for some time
on Zoom before and after the deposition yields approximately 2.5 hours total, including both

3 June 23, 2021, from 12:59 PM to 2:29 PM.
4 25 So, first of all, did you do anything to
     1 prepare for today's deposition?
     2 A. I had a, I don't know, 20-minute
     3 conversation with the Roberts yesterday, and then
     4 I've spent the last ten minutes reviewing my
     5 report.
     6 Q Okay. And -- so, you spent about 30
     7 minutes total prepping?
     8 A. Yeah.
     9 Q. Okay. And other than review your report,
     10 did you review any other documents to prepare?
     11 A. They sent me some studies about the aging
     12 of faculty, which I have spent part of the -- I
     13 probably should have said I spent about ten minutes
     14 reading those also.
Glass Depo. 7:25-8:14.


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preparation and deposition time. But UT is being billed for 7.75 hours total, more than three times
that amount. UT believes that 7.75 hours for a 1.5-hour deposition is unreasonable-particularly
given Dr. Glass 's testimony that he spent only 40 minutes preparing.

Were the Parties to submit this disagreement to the Court, UT believes that Judge Pitman would
limit the reimbursement for Dr. Glass 's deposition as he did in the Nester opinion you included
with the invoice. Compare supra, with Nester, 2016 WL 6537991, at *5. 5 UT believe the Court will
find Dr. Glass 's sworn testimony regarding the time he spent in preparation more credible than an
invoice submitted six months later.

Taking a 90-minute deposition, 40 minutes of preparation, plus another 20 minutes for time spent
on Zoom before and after the deposition yields 2.5 hours. Based on Dr. Glass 's rate of $300 hour,
we believe Judge Pitman would find a reasonable fee for the time spent Dr. Glass spent responding
to his deposition $750. But, in the interest of resolving the dispute amicably without involving the
Court, UT is willing to round its estimate up to $975.00, the amount Dr. Glass submitted as his
day-of deposition amount.




5In Nester, the Court found that a $4,000 flat deposition fee submitted by an expert who charged $350 per hour
was unreasonable and instead found that a $1,400 fee was reasonable:

    Dr. Harrell billed a flat fee of $4,000 for his deposition. Given that Dr. Harrel's regular billing rate is $350
    per hour, that his deposition lasted approximately four hours, and that he is based in Austin, which is
    presumably where his deposition took place, this fee is unreasonable. Further, while Dr. Harrell's flat fee
    includes up to ten hours of preparation time, Plaintiffs have provided no evidence that Dr. Harrell actually
    spent time preparing for his deposition. Without such evidence, Plaintiffs have not met their burden with
    respect to any time Dr. Harrell may have spent preparing for his deposition. Thus, the Court finds that a
    reasonable fee for the time Dr. Harrell spent responding to his deposition is $1,400.

2016 WL 6537991, at *5.


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Dr. Glick




     Deposition fee for Nikolova v University of Texas on November 5, 2021                                  $5,000


     Preparation time for deposition, 8 hours x $400 per hour                                               $3,200




     TOTAL DUE                                                                                            $8,320.00



    Deponent                   Invoice         Total Deposition Time            Glick Deponent Testimony
                                               (including all breaks)           Regarding Preparation
    Dr. Peter Glick            $8,320.00       7 hours and 1 minute             N/A.
                                               (421 minutes) 6

UT believes that Dr. Glick 's invoice is unreasonable. For deposition preparation time, Dr. Glick
charges $400 per hour. But Dr. Glick charges a flat rate of $5,000 per deposition, regardless of the
deposition' s length. 7 In this case, excluding the 74-minute lunch break, but including all the intra­
deposition breaks, Dr. Glick's deposition lasted for approximately 5 hours and 45 minutes.
Running those numbers 8 yields an average of $870 per hour, more than twice his hourly rate.

UT appreciates that Dr. Glick may have charged Dr. Nikolova (or her counsel) a flat rate of $5,000,
an unreasonable cost that she wishes to pass on to UT. But, as Judge Pitman observed, Rule
26(b )( 4)(E)(i) " is not an avenue to getting the other side to pay for the costs ofyour litigation . . . . "
Nester, 2016 WL 6537991, at *2.

UT offers to pay $5,000 for the entirety of Dr. Glick 's time. That number reflects 6 hours x $400
per hour for the deposition ($2,400) plus the equivalent time in preparation time, yielding $4,800,
which UT is willing to round up to an even $5,000 in the interest of resolving the dispute amicably
without involving the Court. UT believes this amount, which is the same amount that UT was
asked to pay for Dr. Glick' s comparable deposition-related time in Mullenix v. University of Texas
at Austin, l:2019-cv-01203 (W.D. Tex.) , is a reasonable offer. 9 See Ushijima v. Samsung Elecs. Co. ,

6 November S , 2021, from 9:01 AM to 4:02 PM, including a lunch break that lasted from 12:13 to 1:27 PM. See Glick
Depo. 120:18.
7
  Glick Depo. 22:8-11.
8
  Surely Plaintiff does not expect UT to reimburse almost a thousand dollars for the time Dr. Glick spent eating lunch
in the comfort of his own home or office.
9 UT notes that Dr. Glick did not separately charge for deposition preparation time in Mullenix, with the result that




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No. A-12-CV-318-LY, 2015 WL 11251558, at *6 (W.D. Tex. July 30, 2015) ("The court
concludes that Samsung's reimbursement of one hour of preparation time for every hour spent in
the deposition is reasonable for the purposes of Federal Rule of Civil Procedure 26(b )( 4)(E) " and
"will deny Ushijima's request for additional fees for expert discovery. ").

Please let me know your response to UT' s counter-offers.

                                                        Yours with respect,

                                                         �� t'- 5)'�
                                                        Benjamin L. Dower
                                                        Deputy Division Chief
                                                        General Litigation Division
                                                        Attorney-in-Charge for UT Austin




UT paid a total of $5,000 for his deposition time in that case.


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                         Travel & Meals




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                 Female · !Feb B, ·1997
                 grace.zh.uang97@gmail..com
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                         Miscellaneous




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Focus Group Administrator
Dallas Jury Research
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Email : Dal lasJuryResearch@gmail .com

On Mon, Feb 21, 2022 at 12:43 PM Bob Schmidt <schmidt@crewsfirm.com> wrote:

Thanks very much Amy!



Robert W. Schmidt

he/him/his

Crews Law Firm, P .C.

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